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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

KATHERINE L. ALLEY,                                  )
                                                     )
       Plaintiff,                                    )
                                                     )
               v.                                    )      Civil Action No. 14-cv-849 (RBW)
                                                     )
UNUM LIFE INSURANCE                                  )
COMPANY OF AMERICA,                                  )
                                                     )
       Defendant.                                    )
                                                     )

                               STIPULATION OF DISMISSAL

       The parties hereby stipulate that this case shall be dismissed with prejudice and without

costs, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

Dated: December 8, 2014                      Respectfully submitted,


                                                 /s/ Donald J. Friedman
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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 8th day of December, 2014, I served a true and correct

copy of the foregoing Stipulation of Dismissal via the Court’s CM/ECF system on the following:


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